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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA
                                  AT ANCHORAGE


BRISTOL BAY ECONOMIC
DEVELOPMENT CORPORATION, et al.,             CASE NO. 3:19-CV-00265-SLG

                             Plaintiffs,
               v.
CHRIS HLADICK, U.S.
ENVIRONMENTAL PROTECTION
AGENCY, et al.,
                             Defendants.
SALMONSTATE, et al.,                         CASE NO. 3:19-CV-00267-SLG
                             Plaintiffs,


CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED)



         Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 1 of 46
             v.
CHRIS HLADICK, U.S.
ENVIRONMENTAL PROTECTION
AGENCY, et al.,
                           Defendants.
TROUT UNLIMITED,                            CASE NO. 3:19-CV-00268-SLG
                           Plaintiffs,
             v.
U.S. ENVIRONMENTAL PROTECTION
AGENCY, et al.,
                           Defendants.



 DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)




CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED)



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 2 of 46
                                                  TABLE OF CONTENTS

INTRODUCTION ............................................................................................................................... 1
BACKGROUND .................................................................................................................................. 3
   I.      STATUTORY AND REGULATORY BACKGROUND ............................................... 3
        A. Section 404 of the Clean Water Act .................................................................................... 3
        B. EPA’s regulations implementing section 404(c)................................................................ 6
           1.    Proposed Determination ................................................................................................... 7
           2.    Withdrawal of Proposed Determination, or Recommended Determination ........... 8
           3.    Final Determination ........................................................................................................... 9
        C. The 404(q) Memorandum ...................................................................................................10
   II. FACTUAL BACKGROUND ...............................................................................................11
STANDARD OF REVIEW ..............................................................................................................19
ARGUMENT .......................................................................................................................................21
   I.      The Court Lacks Jurisdiction Because EPA’s
           Withdrawal Decision is Committed to Agency Discretion by Law .................................21
   II. EPA’s Decision is Presumptively Unreviewable .................................................................25
   III. There is No “Law to Apply” in Reviewing the Discretionary
           Decision to Withdraw the Proposed Determination .........................................................16
   IV. The RA’s Withdrawal Decision Required a Complicated
           Balancing of Factors Peculiarly Within EPA’s Expertise ..................................................31
CONCLUSION ...................................................................................................................................35




CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - i

                Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 3 of 46
                                               TABLE OF AUTHORITIES

CASES

Adams v. FAA,
 1 F.3d 955 (9th Cir. 1993) ...............................................................................................................23

Alaska v. Kerry,
 972 F.Supp.2d 1111 (D. Alaska 2013) ....................................................................................23, 30

Alliance to Save the Mattaponi v. U.S. Army Corps of Eng’rs,
 515 F.Supp.2d 1 (D.D.C. 2007) .....................................................................................................28

Argabright v. United States,
 35 F.3d 472 (9th Cir. 1994) ......................................................................................... 22, 23, 24, 30

Ashcroft v. Iqbal,
 556 U.S. 662 (2009) ..........................................................................................................................20

Auer v. Robbins,
 519 U.S. 452 (1997) ..........................................................................................................................31

Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) ..........................................................................................................................20

Block v. Cmty. Nutrition Inst.,
  467 U.S. 340 (1984) ..........................................................................................................................21

Bowles v. Seminole Rock & Sand Co.,
  325 U.S. 410 (1945) ..........................................................................................................................31

Cascade Conservation League v. M.A. Segale, Inc.,
  921 F. Supp. 692 (W.D. Wash. 1996) ....................................................................... 26, 28, 29, 32

Cato v. United States,
  70 F.3d 1103 (9th Cir. 1995)...........................................................................................................19

Citizens to Preserve Overton Park, Inc. v. Volpe,
  401 U.S. 402 (1971) ..........................................................................................................................21



CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - ii

             Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 4 of 46
City & Cty. of San Francisco v. U.S. Dep’t of Transp.,
  796 F.3d 993 (9th Cir. 2015)...................................................................................................passim

City of Olmstead Falls v. EPA,
  266 F.Supp.2d 718 (N.D. Ohio 2003) ..........................................................................................28

City of Santa Clara, Cal. v. Andrus,
  572 F.2d 660 (9th Cir. 1978)...........................................................................................................22

Dep’t of the Army v. Blue Fox, Inc.,
 525 U.S. 255 (1999) ..........................................................................................................................21

Doe v. Holy See,
 557 F.3d 1066 (9th Cir. 2009) ........................................................................................................20

E.J. Friedman Co., Inc. v. United States,
  6 F.3d 1355 (9th Cir. 1993) ................................................................................................20, 21, 23

Hallstrom v. Tillamook Cty.,
 493 U.S. 20 (1989) ............................................................................................................................20

Heckler v. Chaney,
 470 U.S. 821 (1985) ..................................................................................................................passim

Hinck v. United States,
 550 U.S. 501 (2007) ..........................................................................................................................23

Hodge v. Dalton,
 107 F.3d 705 (9th Cir. 1997)...........................................................................................................20

ICC v. Bhd. of Locomotive Eng’rs,
  482 U.S. 270 (1987) ..........................................................................................................................22

Kingman Reef Atoll Invs., L.L.C. v. United States,
  541 F.3d 1189 (9th Cir. 2008) ........................................................................................................19

Kisor v. Wilkie,
  139 S. Ct. 2400 (2019)......................................................................................................................31

Kokkonen v. Guardian Life Ins. Co. of Am.,
  511 U.S. 375 (1994) ..........................................................................................................................19


CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - iii

             Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 5 of 46
Lane v. Pena,
  518 U.S. 187 (1996) ..........................................................................................................................19

Leslie Salt Co. v. United States,
  896 F.2d 354 (9th Cir. 1990)...........................................................................................................31

Lincoln v. Vigil,
  508 U.S. 182 (1993) .............................................................................................................21, 22, 32

Menominee Indian Tribe of Wisconsin v. EPA,
 360 F. Supp. 3d 847 (E.D. Wis. 2018) ..........................................................................................28

Mingo Logan Coal Co. v. EPA,
 714 F.3d 608 (D.C. Cir. 2013) ...................................................................................... 3, 27, 28, 34

Mingo Logan Coal Co. v. EPA,
 829 F.3d 710 (D.C. Cir. 2016) ........................................................................................................29

Newman v. Apfel,
 223 F.3d 937 (9th Cir. 2000)...........................................................................................................22

Newport Galleria Group v. Deland,
 618 F. Supp. 1179 (D.D.C. 1985) ........................................................................................... 28, 34

Pebble Ltd. Partnership v. EPA,
  155 F.Supp.3d 1000 (D. Alaska 2014) ..........................................................................................11

Preserve Endangered Areas of Cobb’s History, Inc. v. U.S. Army Corps of Eng’rs,
  915 F. Supp. 378 (N.D. Ga. 1995) aff'd 87 F.3d 1242 (11th Cir. 1996) ....................................28

Rank v. Nimmo,
  677 F.2d 692 (9th Cir. 1982)...........................................................................................................23

Rouse v. U.S. Dep’t of State,
  567 F.3d 408 (9th Cir. 2009)...........................................................................................................20

Ruff v. Hodel,
  770 F.2d 839 (9th Cir. 1985)...........................................................................................................23

Safe Air for Everyone v. Meyer,
  373 F.3d 1035 (9th Cir. 2004) ........................................................................................................20


CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - iv

             Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 6 of 46
Sierra Club v. Whitman,
  268 F.3d 898 (9th Cir. 2001)....................................................................................21, 23, 24, 26, 32

Southern Ry. Co. v. Seaboard Allied Milling Corp.,
  442 U.S. 444 (1979) ................................................................................................................... 29, 30

Steel Co. v. Citizens for a Better Env’t,
  523 U.S. 83 (1998) ............................................................................................................................19

United States v. Kubrick,
 444 U.S. 111 (1979) ..........................................................................................................................20

United States v. Mitchell,
 463 U.S. 206 (1983) ..........................................................................................................................19

United States v. Nordic Vill., Inc.,
 503 U.S. 30 (1992) ............................................................................................................................19

Warren v. Fox Family Worldwide, Inc.,
 328 F.3d 1136 (9th Cir. 2003) ........................................................................................................20

Webster v. Doe,
 486 U.S. 592 (1988) ................................................................................................................... 22, 24

Weyerhauser Co. v. U.S. Fish and Wildlife Svc.,
 139 S. Ct. 361 (2018) ...........................................................................................................21, 28, 29


STATUTES

5 U.S.C. § 701(a)(2) ......................................................................................................................passim

21 U.S.C. § 301 et seq. ...........................................................................................................................25

33 U.S.C. § 1251(a)(2) ............................................................................................................................ 4

33 U.S.C. § 1319(a)(3) ............................................................................................................................ 5

33 U.S.C. § 1344(a)................................................................................................................................. 4

33 U.S.C. § 1344(b) ................................................................................................................................ 5

33 U.S.C. § 1344(b)(1) ........................................................................................................................... 4

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - v

             Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 7 of 46
33 U.S.C. § 1344(c).......................................................................................................................passim

33 U.S.C. § 1344(e)................................................................................................................................. 4

33 U.S.C. § 1344(h) ................................................................................................................................ 4

33 U.S.C. § 1344(h)(1)(A) ..................................................................................................................... 4

33 U.S.C. § 1344(n) ................................................................................................................................ 5

33 U.S.C. § 1344(q) ................................................................................................................................ 5

33 U.S.C. § 1344(s) ................................................................................................................................. 5

33 U.S.C. § 1362(6) ................................................................................................................................ 4


RULES

Fed. R. Civ. P. 12(b)........................................................................................................................ 2, 35

Fed. R. Civ. P. 12(b)(1) ........................................................................................................................20

Fed. R. Civ. P. 12(b)(6) ........................................................................................................................20


REGULATIONS

33 C.F.R. § 323.2(c)................................................................................................................................ 4

33 C.F.R. § 323.2(e)(1) ........................................................................................................................... 4

33 C.F.R. § 323.6(b) ............................................................................................................................... 7

40 C.F.R § 1.5(a) ..................................................................................................................................... 6

40 C.F.R. Pt. 230 ............................................................................................................................. 4, 17

40 C.F.R. Pt. 231 ............................................................................................................................... 6, 7

40 C.F.R. § 231.1(c)................................................................................................................................ 6

40 C.F.R. § 231.2(e)................................................................................................................................ 6

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - vi

              Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 8 of 46
40 C.F.R. § 231.3 ........................................................................................................................... 17, 31

40 C.F.R. § 231.3(a)................................................................................................................................ 6

40 C.F.R. § 231.3(a)(1) ........................................................................................................................... 7

40 C.F.R. § 231.3(a)(2) .................................................................................................................... 7, 17

40 C.F.R. § 231.4(a)......................................................................................................................... 8, 17

40 C.F.R. § 231.4(b)-(g) ......................................................................................................................... 8

40 C.F.R. § 231.5 ..................................................................................................................................30

40 C.F.R. § 231.5(a)................................................................................................................... 8, 30, 31

40 C.F.R. § 231.5(b) ............................................................................................................................... 9

40 C.F.R. § 231.5(c)................................................................................................................................ 9

40 C.F.R. § 231.5(c)(1) ........................................................................................................................... 9

40 C.F.R. § 231.5(c)(2) ........................................................................................................................... 9

40 C.F.R. § 231.6 ............................................................................................................................. 9, 17

40 C.F.R. § 231.8 .................................................................................................................................... 7

40 C.F.R. § 232.2 .................................................................................................................................... 4


FEDERAL REGISTER NOTICES

44 Fed. Reg. 58,076 (Oct. 9, 1979) ............................................................................................passim

82 Fed. Reg. 33,123 (Jul. 19, 2017) ....................................................................................................13

83 Fed. Reg. 8,668 (Feb. 28, 2018) ....................................................................................................14

84 Fed. Reg. 45,749 (Aug. 30, 2019) .........................................................................................passim




CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - vii

              Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 9 of 46
OTHER AUTHORITIES

Merriam-Webster Dictionary, https://www.merriam-webster.com/dictionary
 (last visited Dec. 10, 2019) ..............................................................................................................27




CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - viii

            Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 10 of 46
                                     INTRODUCTION

       These consolidated cases are not justiciable. Plaintiffs seek to challenge a decision by

the United States Environmental Protection Agency (“EPA”) that the Clean Water Act and

EPA’s implementing regulations make wholly discretionary. Because that decision is

committed to EPA’s discretion by law, it is unreviewable under the Administrative

Procedure Act (“APA”). The Clean Water Act (“CWA”) accords EPA discretionary

authority to prohibit or restrict discharges of dredged or fill material into “waters of the

United States” under section 404(c), and EPA’s regulations implementing this section lay out

procedural steps by which the Agency may exercise this discretionary authority.

       These cases relate to the Pebble Limited Partnership’s (“PLP’s”) announced intent to

obtain federal permits necessary to mine valuable ore and mineral deposits attendant to

Bristol Bay in southwestern Alaska. The unusual situation presented by these cases began

nearly six years ago, in 2014. EPA’s Region 10 office then took the step of initiating a CWA

section 404(c) review process before a section 404 permit application was submitted to the

U.S. Army Corps of Engineers (“Corps”) for the project.

       After EPA Region 10 published a “Proposed Determination” under section 404(c) in

July 2014, the review process was enjoined in a separate lawsuit before this Court. As a

result, EPA did not resume the process until after EPA reached a settlement of that lawsuit

in May 2017. This required EPA to initiate a process to propose to withdraw the Proposed

Determination and also prevented EPA from making a Recommended Determination—the

next affirmative step in its section 404(c) review process—for a number of years. EPA

proposed to withdraw the Proposed Determination in July 2017 and solicited public

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 1



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 11 of 46
comments on the proposed withdrawal. EPA suspended the proposed withdrawal

proceeding in January 2018.

       In December 2017, PLP submitted a section 404 permit application to the Corps for

mining of the Pebble deposit. The Corps then issued a public notice stating that an

Environmental Impact Statement would be required in connection with the permitting

process. Shortly thereafter, EPA formally began working with the Corps as a cooperating

agency under the National Environmental Policy Act (“NEPA”). In February 2019, the

Corps published a draft EIS and a “Section 404 Public Notice.” Both provided EPA with

new processes to begin working directly with the Corps to evaluate the proposed discharges

and their effects. Those processes revealed that EPA and the Corps had preliminary

differences in their views on a variety of technical matters related to the potential impacts

from the project. In July 2019, EPA submitted approximately 150 pages of comments to the

Corps related to those issues.

       After resuming its consideration of whether to withdraw the Proposed Determination

or leave it in place, EPA Region 10 published notification in the Federal Register on August

30, 2019, that it was withdrawing the Proposed Determination. The Region determined that

key circumstances changed significantly after it issued the Proposed Determination in 2014.

The mining scenarios on which the Proposed Determination was based had been superseded

by the permit application and information generated during the NEPA and section 404

permitting processes. EPA explained that it could use those processes, as anticipated in its

regulations, in the post-application context to address the new, developing factual record and

the agencies’ differing preliminary views about potential project impacts. EPA determined

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 2



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 12 of 46
that the “appropriate sequencing” under these circumstances is to use these processes during

permit review. This approach makes more sense than addressing the technical issues

through the prior, separate section 404(c) process under which the Region had issued a

Proposed Determination many years back. Nonetheless, EPA acknowledged that, if its

concerns about potential impacts from the project are not addressed to its satisfaction, EPA

retains the authority to initiate a new section 404(c) process based on the complete record

that includes the information developed during the permit review.

       Plaintiffs in these consolidated cases challenge that decision to withdraw a Proposed

Determination and continue by other processes. Pursuant to well-established principles of

law, Plaintiffs’ claims should be dismissed. Judicial review of the withdrawal decision is not

available because it is committed to EPA’s discretion by law. It is, thus, not subject to APA

review. Decisions “not to enforce” are presumptively unreviewable. EPA’s discretionary

decision to forgo the section 404(c) process is akin to the exercise of prosecutorial

discretion. In addition, Congress provided no “law to apply” in reviewing EPA’s withdrawal

decision. Furthermore, the decision involved a complicated balancing of factors within

EPA’s expertise. EPA is better equipped to conduct that balancing than the courts. The

Court should therefore dismiss the complaints.

                                      BACKGROUND

I.     STATUTORY AND REGULATORY BACKGROUND

       A. Section 404 of the Clean Water Act

       The Clean Water Act of 1972 sets out several goals, including attainment and

preservation of “water quality which provides for the protection and propagation of fish,

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 3



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 13 of 46
shellfish, and wildlife . . . .” 33 U.S.C. § 1251(a)(2). To further its goals, the Act prohibits

“discharge of any pollutant” into navigable waters except in accordance with the Act’s terms.

Id. § 1311(a). The term “pollutant” encompasses not only chemical and biological waste but

also, e.g., rock and sand. 33 U.S.C. § 1362(6).

         The Act creates two types of permits that authorize discharges of pollutants, one of

which is relevant here. Section 404 enables the Corps and approved States to issue permits

for discharges of dredged or fill material. 33 U.S.C. § 1344(a), (e), (h). Pollutants are known

as “fill material” when their discharge either replaces any portion of a water of the United

States with dry land or changes the bottom elevation of a water body. See 33 C.F.R.

§ 323.2(e)(1); 40 C.F.R. § 232.2. The term “dredged material” means “material that is

excavated or dredged from waters of the United States.” 33 C.F.R. § 323.2(c); 40 C.F.R. §

232.2.

         Congress established an intricate balance between the Corps and EPA for

implementing the section 404 program, including various responsibilities over permitting,

rulemaking, enforcement and project “vetoes.” The Corps is the federal entity charged with

issuing section 404 permits, 33 U.S.C. § 1344(a), and the Corps issues all section 404 permits

in Alaska. The CWA vests EPA with several authorities, including the ability to authorize

individual States to issue section 404 permits, 33 U.S.C. § 1344(h), but Alaska has not sought

to assume this authority. The Act requires EPA, in conjunction with the Corps, to issue

regulations known as “404(b)(1) Guidelines” that govern the evaluation of permit

applications. Id. § 1344(b)(1), (h)(1)(A)(i); see 40 C.F.R. Pt. 230. The Act also requires the

Corps to enter into agreements with EPA and other agencies to coordinate regarding the

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 4



         Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 14 of 46
issuance of section 404 permits. 33 U.S.C. § 1344(q). Pursuant to that requirement, EPA

and the Corps have entered into a memorandum of agreement referred to here as the

“404(q) Memorandum.” See Administrative Record (“AR”) Document 12,585. In addition,

the Corps and EPA may enforce violations of section 404. 33 U.S.C. §§ 1344(n), (s),

1319(a)(3).

       The Act also provides that the Corps’ permitting authority under section 404 is

subject to EPA’s authority under section 404(c). 33 U.S.C. § 1344(b), (c). Section 404(c)

authorizes EPA to prohibit the specification of, or deny or restrict the use of, any defined

area as a disposal site for dredged or fill material:

       The [EPA] Administrator is authorized to prohibit the specification (including
       the withdrawal of specification) of any defined area as a disposal site, and he is
       authorized to deny or restrict the use of any defined area for specification
       (including the withdrawal of specification) as a disposal site, whenever he
       determines, after notice and opportunity for public hearings, that the discharge
       of such materials into such area will have an unacceptable adverse effect on
       municipal water supplies, shellfish beds and fishery areas (including spawning
       and breeding areas), wildlife, or recreational areas. . . .

33 U.S.C. § 1344(c). Section 404(c) also specifies that, “[b]efore making such determination,

the Administrator shall consult with the [Corps].” Id. There is no mention of proposed

determinations or withdrawals of proposed determinations in section 404(c). Id.

       Section 404’s division of authority between EPA and the Corps is the result of a

Congressional compromise. Congress allowed the Corps to specify fill disposal sites and

issue permits, but it authorized EPA to prohibit, withdraw, deny or restrict use of any

defined area for disposal of dredged or fill material whenever EPA determines that the

discharge of those materials will have certain unacceptable adverse effects. See Mingo Logan


CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 5



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 15 of 46
Coal Co. v. EPA, 714 F.3d 608, 612-14 (D.C. Cir. 2013) (upholding EPA’s authority to make

a Final Determination under section 404(c) after the Corps had issued a section 404 permit).

       B.      EPA’s regulations implementing section 404(c)

       In 1979, EPA promulgated regulations governing the exercise of its section 404(c)

authority. See 40 C.F.R. Pt. 231; 44 Fed. Reg. 58,076 (Oct. 9, 1979). Those regulations,

which apply to “all existing, proposed or potential disposal sites” for discharges of fill

material, 40 C.F.R. § 231.1(c), establish multi-step rules of procedure for EPA to evaluate

potential effects and potentially make a 404(c) final determination to prohibit, deny or

restrict disposal in a defined area. See 40 C.F.R. Pt. 231. The rules include internal

delegations of authority from the Administrator to the appropriate Regional Administrator.1

       The discretionary section 404(c) review process begins with an EPA Regional

Administrator (“RA”), who “may” initiate certain “actions” for the section 404(c) review

proceedings if he has “reason to believe,” after evaluating the available information, that an

“‘unacceptable adverse effect’ could result” from the use of any defined area as a disposal site

for dredged or fill material. 40 C.F.R. § 231.3(a) (emphasis added).2 The “information

available” to the RA would include any record developed during coordination between EPA

and the Corps during the interagency process described in the 404(q) Memorandum. 84


1
  EPA has ten regional offices, designated EPA Region 1 through EPA Region 10. The
chief of each regional office is the Regional Administrator. See 40 C.F.R § 1.5(a). EPA
Region 10 is based in Seattle, and has responsibility for EPA matters in Alaska, Washington,
Oregon, and Idaho.
2
   “Unacceptable adverse effect” is defined to mean “impact on an aquatic or wetland
ecosystem which is likely to result in significant degradation of municipal water supplies
(including surface or ground water) or significant loss of or damage to fisheries, shellfishing,
or wildlife habitat or recreation areas.” 40 C.F.R. § 231.2(e).
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 6



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 16 of 46
Fed. Reg. 45,749, 45,752 (Aug. 30, 2019). Once EPA initiates the section 404(c) process, the

District Engineer at the Corps may not issue a permit for the discharge of dredged or fill

material at a site located in the defined area until final action is taken by EPA under 40

C.F.R. Pt. 231—a period of time that the regulations envision as lasting only for several

months. 40 C.F.R. § 231.3(a)(2); 33 C.F.R. § 323.6(b). However, the District Engineer may

process a permit application during the section 404(c) process. 33 C.F.R. § 323.6(b).

              1. Proposed Determination

       The first step in the process is that the RA “will” notify the Corps’ District Engineer,

the owner of the site, and the permit applicant, if any, that he intends to issue a public notice

of a proposed determination to prohibit or withdraw the specification, or to deny, restrict or

withdraw the use for specification, of any defined area as a disposal site. 40 C.F.R. §

231.3(a)(1). After that, the regulations allow for a minimum 15-day period during which the

owner or applicant may seek to demonstrate, to the satisfaction of the RA in his discretion,

that no unacceptable adverse effects will occur. Id. § 231.3(a)(2).3 If such a demonstration is

not made to the satisfaction of the RA, and the District Engineer does not notify the RA

that the Corps will take corrective action to prevent the unacceptable adverse effects, then

the RA “shall” publish notice of a proposed determination “in accordance with” the

applicable procedures. Id. § 231.3(a)(2). As EPA explained in the preamble to its section

404(c) regulations, a “proposed determination does not represent a judgment that discharge



3
  The EPA Administrator or the RA may extend the time requirements in EPA’s section
404(c) regulations upon a showing of good cause. 40 C.F.R. § 231.8. Notice must be
published in the Federal Register and through other forms, as appropriate. Id.
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 7



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 17 of 46
of dredged or fill material will result in unacceptable adverse effects; it merely means that the

[RA] believes that the issue should be explored.” 44 Fed. Reg. 58,082. After the RA

publishes the proposed determination, any interested person may submit comments during a

30- to 60-day comment period. 40 C.F.R. § 231.4(a). In addition, where there is significant

public interest in the proposed determination, or if an affected landowner or the permit

holder or applicant requests a hearing, the RA shall convene a public hearing consistent with

the requirements of the regulations. Id. § 231.4(b)-(g).

               2. Withdrawal of Proposed Determination, or Recommended Determination

       Within 30 days after the conclusion of the public hearing or, if no hearing is held,

within 15 days after the conclusion of the public comment period, the RA must either

withdraw the proposed determination or prepare a recommended determination to prohibit,

deny, restrict, or withdraw the use for specification. Id. § 231.5(a) (the RA is to “either

withdraw the proposed determination or prepare a recommended determination to prohibit

or withdraw specification, or to deny, restrict, or withdraw the use or specification, of the

disposal site because the discharge of dredged or fill material at such site would be likely to

have an unacceptable adverse effect.”) (emphasis added).

       The regulations provide a process—but not a standard—for a decision to withdraw a

proposed determination. See 40 C.F.R. § 231.5(a). If the RA decides to withdraw the

proposed determination, then the RA must “promptly” notify the Administrator4 of the


4
  In 1984, the EPA Administrator delegated the authority to make final determinations
under section 404(c) to EPA’s national CWA Section 404 program manager, who is the
Assistant Administrator for Water. That delegation remains in effect. With regard to EPA’s
Section 404(c) action for the Pebble deposit area, on March 22, 2019, Administrator Wheeler
delegated to the General Counsel, Matthew Z. Leopold, the authority to perform all
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 8



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 18 of 46
RA’s intent to withdraw. Id. § 231.5(c). The Administrator has the option to review the

RA’s proposed withdrawal and, if so, has 10 days to notify the RA of the intent to review.

Id. § 231.5(c). If the Administrator decides against review, then the RA must publish a

notice of the withdrawal, which “shall constitute final agency action.” Id. § 231.5(c)(1).5 If

the RA instead prepares a recommended determination, it must be “promptly” forwarded

along with the administrative record to the Administrator at EPA Headquarters for review.

Id. § 231.5(b).

                  3. Final Determination

       After reviewing the RA’s recommendation to prohibit specification or to deny,

restrict, or withdraw the use for specification, EPA Headquarters must initiate consultation

with the Corps’ Chief of Engineers, the owner, and the permit applicant, if any, who have 15

days to notify EPA Headquarters of their intent to take corrective action to prevent the

unacceptable adverse effects. Id. § 231.6. EPA Headquarters must then make a final

decision affirming, modifying, or rescinding the RA’s recommended determination, and

publish notice of that decision in the Federal Register. Id. That final determination

constitutes “final agency action” for purposes of judicial review. Id. If EPA decides to

affirmatively exercise its authority in a final determination, that action would include its



functions and responsibilities retained by the Administrator or previously delegated to the
Assistant Administrator for Water.
5
  If the Administrator decides to review the proposed withdrawal, then copies of the
notification of the intent to review shall be sent to the persons who commented on the
proposed determination or participated at the hearing, and final agency action does not
occur until the Administrator makes a determination on the proposed withdrawal. Id. §
231.5(c)(2).
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 9



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 19 of 46
determination that “the discharge of such materials into such areas will have an unacceptable

adverse effect.” 33 U.S.C. § 1344(c) (emphasis added).

       C.     The 404(q) Memorandum

       As mentioned above, EPA and the Corps have entered into an agreement as required

by CWA section 404(q). Consistent with Congress’s intricate division of section 404

authority between EPA and the Corps, the 404(q) Memorandum affirms that the Corps is

the sole federal entity responsible for making final section 404 permit decisions and that

EPA retains its authority under section 404(c). 404(q) Memorandum, AR 12,585 at 193462-

63, 193470-71. The 404(q) Memorandum also establishes policies and procedures that

“provide and encourage communication and full consideration of [the] agencies’ views

concerning proposed projects . . . .” Id. at 193464. The Corps is to serve as the “project

manager” for the evaluation of permit applications, but “[i]t is recognized that the EPA has

an important role in the [Corps’] Regulatory Program under the Clean Water Act, [NEPA],

and other relevant statutes.” Id. at 193463.

       EPA is to provide “substantive, project-related information (within EPA’s area of

expertise and authority) on the impacts of activities being evaluated by the Corps,” along

with expert information on “appropriate and practicable measures to mitigate adverse

impacts.” Id. “Pursuant to [EPA’s] authority under Section 404(b)(1),” EPA also may

provide its “views regarding compliance with the section 404(b)(1) Guidelines.” Id. The

Corps, in turn, is to “fully consider EPA’s comments when determining compliance with

[NEPA], the section 404(b)(1) Guidelines, and other relevant statutes, regulations and

policies.” Specifically, the Corps will “fully consider the EPA’s views when determining

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 10



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 20 of 46
whether to issue the permit, to issue the permit with conditions and/or mitigation, or to

deny the permit.” Id. The 404(q) Memorandum also sets forth procedures for elevating

policy issues and individual permit decisions within the agencies. Id. at 193466-71.

II.        FACTUAL BACKGROUND

           The Pebble deposit contains copper, gold and molybdenum, and is located in the

Bristol Bay region, approximately 200 miles southwest of Anchorage. See Notification of

Decision to Withdraw Proposed Determination to Restrict the Use of an Area as a Disposal

Site; Pebble Deposit Area, Southwest Alaska, 84 Fed. Reg. 45,749. The Bristol Bay

watershed includes large salmon fisheries, including the largest sockeye salmon fishery in the

world, which support significant commercial, sport and subsistence fishing activities. See id.

           In 2011, before PLP submitted a CWA section 404 permit application to the Corps

to mine a portion of the Pebble deposit, EPA began an assessment to understand how large-

scale mining could potentially affect the fisheries in the Bristol Bay watershed. 84 Fed. Reg.

at 45,749. EPA issued the Bristol Bay Watershed Assessment in January 2014. Id. While

such an assessment is not required under section 404(c), it was part of the information on

which EPA relied in 2014, when EPA Region 10 initiated its CWA section 404(c) review.

See id.6




6
  PLP challenged the initiation of the review process, but this Court dismissed the challenge
because there was no final agency action, Pebble Ltd. Partnership v. EPA, 155 F.Supp.3d 1000
(D. Alaska 2014), and the Ninth Circuit affirmed the dismissal on the same grounds in an
unpublished opinion.
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 11



           Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 21 of 46
       In July 2014, EPA Region 10 “preemptively” (i.e., before a section 404 permit

application had been submitted) published its Notice of Proposed Determination under

section 404(c) to restrict the use of certain waters within the watershed for use as disposal

sites for dredged or fill material associated with mining the Pebble deposit. 84 Fed. Reg. at

45,749-50. The Proposed Determination addressed hypothetical mining scenarios based on

information compiled from a number of sources. Id. at 45,749, 45,753. EPA received

approximately 670,000 comments on the Proposed Determination and held a number of

public hearings throughout southwest Alaska. Id. at 45,750.

       The next step in the section 404(c) regulatory process typically would have been for

EPA Region 10 either to forward a Recommended Determination to EPA headquarters or

to withdraw the Proposed Determination. Id. However, PLP filed a lawsuit that alleged that

EPA formed three de facto advisory committees in violation of the Federal Advisory

Committee Act (“FACA”). Id. See Pebble Ltd. Partnership v. EPA, No. 3:14-cv-00171 (D.

Alaska). In November 2014, the court determined that PLP had a fair chance of success on

the merits, and entered an injunction that halted EPA’s section 404(c) review process until

the case was resolved. 84 Fed. Reg. at 45,750.

       In May 2017, EPA and PLP entered into a settlement that resolved the FACA

litigation and other matters. 84 Fed. Reg. at 45,750. The court dissolved the injunction and

dismissed the action, and EPA agreed to “initiate a process to propose to withdraw the

Proposed Determination.” Id. EPA also agreed not to move forward with a Recommended

Determination—if any—until May 11, 2021, or until EPA publishes a notice of the Corps’

final Environmental Impact Statement (“EIS”) for the project, whichever is earlier. Id.

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 12



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 22 of 46
       In July 2017, EPA Region 10 proposed to withdraw the Proposed Determination. 84

Fed. Reg. at 45,750; see 82 Fed. Reg. 33,123 (July 19, 2017). In the notice, Region 10 stated

that, “[b]ecause the Agency retains the right under the settlement [of the FACA litigation

and other matters] to ultimately exercise the full extent of its discretion under section 404(c),

including the discretion to act prior to any potential Army Corps authorization of discharge

of dredged or fill material associated with mining the Pebble deposit, the Agency believes

that withdrawing the Proposed Determination now, while allowing the factual record

regarding any forthcoming permit application to develop, is appropriate at this time for this

particular matter.” 84 Fed. Reg. at 45,752 (quoting 82 Fed. Reg. 33,124). EPA sought input

on three potential bases on which to withdraw the Proposed Determination: (1) to provide

PLP with additional time to submit a section 404 permit application; (2) to remove potential

uncertainty about PLP’s ability to submit a permit application and have it reviewed; and (3)

to allow the factual information related to a potential permit application to develop. Id. at

45,750. EPA received approximately one million public comments on the proposal and held

two public hearings in the Bristol Bay watershed. Id. EPA also consulted with federally

recognized tribal governments and with Regional and Village Corporations. Id.

       In December 2017, PLP submitted a CWA section 404 permit application to the

Corps. Id. In early January 2018, the Corps issued a notice of the permit application and

stated that an EIS for the application would be required under NEPA. Id. The Corps

invited federal and state agencies, including EPA, to be cooperating agencies on the

development of the EIS. Id. In late January 2018, EPA Region 10 issued a notice that



CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 13



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 23 of 46
announced a “suspension” of the proceeding to withdraw the Proposed Determination. Id.

See 83 Fed. Reg. 8,668 (February 28, 2018).

       On March 1, 2018, EPA Region 10 accepted the Corps’ invitation to serve as a

cooperating agency for development of the EIS. 84 Fed. Reg. at 45,750. In that capacity,

EPA has participated in meetings and provided comments on early drafts of EIS materials,

and has provided scoping comments to the Corps. Id. The Corps released a draft EIS and

“Section 404 Public Notice” in February 2019. Id. On July 1, 2019, EPA submitted over

100 pages of public comments on the Corps’ draft EIS and submitted over 50 pages of

public comments on the Corps’ section 404 public notice. Id. In its comments on the

Corps’ section 404 public notice, EPA initiated the dispute resolution procedures for

individual permit cases pursuant to the 404(q) Memorandum. Id. at 47,755. Importantly,

EPA could not initiate coordination under the 404(q) Memorandum until the Corps

provided notice of the application for comment. 84 Fed Reg. at 45,755; see 404(q)

Memorandum, AR 12,585 at 193465.

       In June 2019, the EPA General Counsel, acting by delegated authority for the

Administrator, who has recused himself from Pebble-related matters, directed Region 10 to

“continue deliberating regarding whether to withdraw the 2014 Proposed Determination or,

alternatively, decide to leave the 2014 Proposed Determination in place.” 84 Fed. Reg. at

45,750. EPA published notification of its withdrawal of the Proposed Determination in the

Federal Register on August 30, 2019. 84 Fed. Reg. 45,749. In the notice, EPA clarified that

it was not basing its decision on technical judgments about whether PLP’s mine proposal

will comply with the section 404(b)(1) Guidelines or result in “unacceptable adverse effects”

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 14



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 24 of 46
under CWA section 404(c). Id. at 45,756. Instead, EPA emphasized that key circumstances

had changed significantly after PLP submitted its permit application and the Corps published

notice of it. In particular, the hypothetical mining scenarios in the Proposed Determination

had been superseded. Project-specific information had been, and was continuing to be,

developed in connection with the multi-year permitting process. Id. at 45,452-56. The

record had grown significantly and would continue to grow until the Corps issues a final

EIS. Id. at 45,753. In addition, the Corps had made preliminary determinations that in

certain respects conflict with EPA’s preliminary assessments in the 2014 Proposed

Determination. Id. Furthermore, separate opportunities became available to address EPA’s

environmental concerns with the Corps, including as a cooperating agency in the Corps’

NEPA process, as a commenter on the Corps’ section 404 public notice, and by invoking

the processes available in the 404(q) Memorandum. Id. at 45,752-53.

       There are several differences between the scenarios that EPA addressed in the 2014

Proposed Determination and the proposal in PLP’s permit application. Among other things,

PLP’s proposal would: eliminate cyanide leaching as part of ore processing; place a liner

under a disposal facility for certain mine “tailings” and waste rock; reduce the amount of

waste rock; and relocate treated water discharge areas, which may reduce impacts related to

“dewatering” of the open pit. 84 Fed. Reg. at 45,753.

       Using the “process opportunities” now available in both the NEPA and CWA

contexts, EPA has brought its expertise to bear, and has provided significant technical

comments and expressed particular concerns regarding the impacts of the project. Id. at

45,754-55. As one summary example, EPA informed the Corps that EPA “has concerns

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 15



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 25 of 46
regarding the extent and magnitude of the substantial proposed impacts to streams,

wetlands, and other aquatic resources that may result, particularly in light of the important

role that these resources play in supporting the region’s valuable fishery resources.” Id.7

       EPA recognized in its withdrawal notice that the Corps, through well-established

processes of continued analysis and coordination with EPA, may resolve some of the issues

that EPA has raised. 84 Fed. Reg. at 45,755. EPA also emphasized that, under its

regulations, where a permit application is pending, the “normal” process in the initial stages

of a potential section 404 proceeding would involve the RA’s review of the record developed

during EPA’s coordination with the Corps during the permit review process. Id. at 45,752.

Indeed, an explanatory comment within EPA’s regulations states EPA’s expectation that

those processes “will normally be exhausted prior to any final decision whether to initiate a




7
  EPA’s comments on the Corps’ draft EIS and on the Corps’ notice of PLP’s permit
application included much more detail. For example, EPA specifically cautioned the Corps
about the potential impacts on fish habitat. AR 12,595 at 196198. (“If spawning and rearing
habitats no longer exist at sufficient levels (in terms of quantity or quality), or no longer exist
in proximity to each other, the abundance, productivity, and sustainability of fish
populations will be compromised. These habitats need to remain both sufficiently
represented and connected, throughout the project area, to sustain resiliency and persistence
of fish populations.”). EPA also commented that the draft EIS “appears to lack certain
critical information about the proposed project and mitigation,” and thus “likely
underestimates impacts and risks to groundwater and surface water flows, water quality,
wetlands, aquatic resources, and air quality” from the proposed project. Id. at 196146. EPA
advised that, “Inclusion of the additional information and analyses we have identified, or
further explanation in the EIS of these issues, is essential to more fully evaluate and disclose
the potential impacts and identify practicable measures to mitigate those impacts.” Id.
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 16



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 26 of 46
404(c) proceeding.” Id. at 45,752 (emphasis added); see 40 C.F.R. § 231.3.8 EPA explained

that this approach is consistent with the preamble to its 1979 regulations. These state that

the start of a section 404(c) process “will ordinarily be preceded by an objection to the permit

application.” 84 Fed. Reg. at 45,752 (quoting 44 Fed. Reg. 58,080). EPA also stated there

that “[t]he fact that 404(c) may be regarded as a tool of last resort implies that EPA will first

employ its tool of ‘first resort,’” that is, “comment and consultation with the permitting

authority at all appropriate stages of the permit process.” Id. (quoting 44 Fed. Reg. 58,080).

       Furthermore, EPA emphasized in its withdrawal notice that EPA is to coordinate

with the Corps throughout the section 404(c) process to assess whether “corrective action”

may be taken to prevent an “unacceptable adverse effect” that otherwise might be addressed

in a final section 404(c) determination. 84 Fed. Reg. at 47,555; see 40 C.F.R. §§ 231.3(a)(2),

231.4(a), 231.6.9 This coordination specifically includes consultation with the Corps about

potential corrective action before the Region can publish a Proposed Determination and

before EPA can make a final section 404(c) determination. 40 C.F.R. §§ 231.3(a)(2), 231.6.

As EPA explained in its withdrawal notice, while the Corps participated in EPA’s 2014



8
  EPA’s 1979 regulations refer to a “section 404 referral process” that is now established in
the 1992 404(q) Memorandum. See 84 Fed. Reg. at 45,752 n.3.
9
  As the section 404 permitting authority, the Corps plays a key role in implementing any
corrective action measures. 84 Fed. Reg. at 45,752; see 44 Fed. Reg. at 58,081. The Corps
also plays a central role in ensuring that any discharge of dredged or fill material complies
with the CWA section 404(b)(1) Guidelines, which include requirements to, among other
things, minimize the adverse effects of the discharge of dredged or fill material, and use
compensatory mitigation to offset unavoidable impacts that are authorized through a section
404 permit. See 40 C.F.R. Pt. 230, Subparts H, J.

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 17



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 27 of 46
process prior to issuance of the Proposed Determination, the Corps’ engagement was

limited because PLP had not yet submitted its permit application. 84 Fed. Reg. at 45,755.

The Corps is now in a far better position to provide information regarding corrective actions

that may prevent unacceptable adverse effects. Id.

       Accordingly, EPA Region 10 explained in the withdrawal notice that, “at this time,

the appropriate sequencing” is to work through the usual permitting process “rather than

through a separate 404(c) process initiated in 2014 that does not reflect the full record.” 84

Fed. Reg. at 45,754. For these and the other reasons articulated in the notice, the Region

determined:

              [I]t is more appropriate to use well-established mechanisms to raise
              project-specific issues as the record develops during the permitting
              process and consider the full record before potential future decision-
              making on this matter, instead of maintaining a section 404(c) process
              that is now five years old and does not account for the voluminous
              information provided in the permitting process.
Id. at 45,753.10 EPA also explained that its decision would provide “clarity and certainty that

EPA Region 10 will be working through the Corps’ permitting process, including as a

cooperating agency, and the 404(q) [Memorandum] process for engagement on this matter.”



10
    See also 84 Fed. Reg. at 45,753 (“EPA did not know and could not know when it issued
its 2018 suspension exactly how long the NEPA process would take and how it would
proceed. Given the current status of the NEPA process, it is now clear that EPA’s 2014
Proposed Determination does not account for the significant project-specific information
that has been developed . . . during the multi-year permitting process.”); id. at 45,755 (while
EPA stated in connection with the suspension that the factual record could develop
notwithstanding the 2014 Proposed Determination, “given the need for any final EPA
404(c) decision to be based on the entire record, EPA has concluded that a Proposed
Determination which in its current form does not account for the full record and does not
grapple with differing conclusions, including those noted previously, should not serve as a
basis for such a decision.”).
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 18



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 28 of 46
84 Fed. Reg. 45,756. EPA also stated repeatedly that, if its concerns are not adequately

resolved during the permitting process, then it may later initiate a new section 404(c) process

based on the full record before the agencies at that time. Id. at 45,754-56; see id. at 45,754

(“If in the future EPA decides to proceed under its 404(c) authority, a new proposed

determination would be appropriate to ensure consideration by the Regional Administrator

of the full record prior to making the required determination [that an unacceptable adverse

effect could result] and ensure meaningful public engagement through the public comment

period on any new proposed determination.”).

                                 STANDARD OF REVIEW

       Federal courts are courts of limited jurisdiction and may hear cases only to the extent

expressly provided by statute. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94–95 (1998).

The burden of establishing subject matter jurisdiction rests with the plaintiff. Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994); see also Kingman Reef Atoll Invs., L.L.C.

v. United States, 541 F.3d 1189, 1197 (9th Cir. 2008). To establish such jurisdiction in a suit

against the United States, the plaintiff must show that its claims fall within an applicable

waiver of sovereign immunity. Cato v. United States, 70 F.3d 1103, 1107 (9th Cir. 1995).

       The United States may not be sued without its consent, and that consent is a

prerequisite for jurisdiction. United States v. Mitchell, 463 U.S. 206, 212 (1983). Waivers of

sovereign immunity “must be unequivocally expressed in [the] statutory text, and will not be

implied.” Lane v. Pena, 518 U.S. 187, 192 (1996) (citations omitted). Any such waiver is

strictly construed in favor of the government. See United States v. Nordic Vill., Inc., 503 U.S.

30, 34 (1992). Further, the United States may define the terms and conditions upon which it

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 19



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 29 of 46
may be sued. United States v. Kubrick, 444 U.S. 111, 117–18 (1979); see also Hallstrom v.

Tillamook Cty., 493 U.S. 20, 27 (1989). If the conditions of the waiver are not met, the claim

must be dismissed. Hodge v. Dalton, 107 F.3d 705, 707 (9th Cir. 1997); see also E.J. Friedman

Co., Inc. v. United States, 6 F.3d 1355, 1357, 1359-60 (9th Cir. 1993) (APA does not waive

sovereign immunity where agency action is unreviewable under section 701(a)(2)).

       A Rule 12(b)(1) motion may be made on the basis that the complaint, together with

documents attached to the complaint and any judicially noticed facts, fails to establish

subject matter jurisdiction. Warren v. Fox Family Worldwide, Inc. 328 F.3d 1136, 1139 (9th Cir.

2003). In deciding a facial attack, the court assumes the factual allegations in the complaint

are true and draws all reasonable inferences in the plaintiff’s favor. Doe v. Holy See, 557 F.3d

1066, 1073 (9th Cir. 2009). The court does not, however, accept the truth of legal

conclusions cast in the form of factual allegations. Id. Rule 12(b)(1) jurisdictional attacks

may also be factual. Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). “In

resolving a factual attack on jurisdiction, the district court may review evidence beyond the

complaint without converting the motion to dismiss into a motion for summary judgment,”

and the court “need not presume the truthfulness of the plaintiff’s allegations.” Id.

       To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal , 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). The court accepts as true the material factual allegations contained in the

complaints and draws all reasonable inferences in the non-moving parties’ favor. Rouse v.

U.S. Dep’t of State, 567 F.3d 408, 411 (9th Cir. 2009).

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 20



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 30 of 46
                                          ARGUMENT

I.     The Court Lacks Jurisdiction Because EPA’s Withdrawal
       Decision is Committed to Agency Discretion by Law

       “Suits against the EPA, as against any agency of the United States, are barred by

sovereign immunity, unless there has been a specific waiver of that immunity.” Sierra Club v.

Whitman, 268 F.3d 898, 901 (9th Cir. 2001) (citing Dep’t of the Army v. Blue Fox, Inc., 525 U.S.

255, 260 (1999)). While the APA contains a waiver of the United States’ sovereign

immunity, that waiver is limited here because the APA bars judicial review of agency actions

that are “committed to agency discretion by law.” 5 U.S.C. § 701(a)(2). For this reason, this

Court does not have jurisdiction over Plaintiffs’ challenges to EPA Region 10’s decision to

withdraw the Proposed Determination.

       While there is a general presumption of reviewability of agency actions under the

APA, this is “just” a presumption, and 5 U.S.C. § 701(a)(2) expressly provides an exception.

Lincoln v. Vigil, 508 U.S. 182, 190-91 (1993) (quoting Block v. Cmty. Nutrition Inst., 467 U.S.

340, 349 (1984)); see Weyerhauser Co. v. U.S. Fish and Wildlife Svc., 139 S. Ct. 361, 370 (2018)

(noting the tension between the prohibition against review in section 701(a)(2) and the

direction to review in section 706(2)(A)). Even though section 701(a)(2) stakes out “a very

narrow exception,” see, e.g., Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 410

(1971); E.J. Friedman Co., Inc., 6 F.3d at 1359, “the Supreme Court has indicated that the §

701(a) hurdle must be cleared ‘before any review at all may be had’ under the APA.” E.J.

Friedman Co., 6 F.3d at 1359 (quoting Heckler v. Chaney, 470 U.S. 821, 828 (1985)).

       One circumstance in which section 701(a)(2) precludes judicial review is where “the

statute is drawn so that a court would have no meaningful standard against which to judge
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 21



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 31 of 46
the agency’s exercise of its discretion.” Heckler, 470 U.S. at 830. In such circumstances,

there are no “judicially manageable standards,” or essentially no “law to apply,” in evaluating

the agency’s exercise of discretion. Id. (quoting Overton Park, 401 U.S. at 410); see also City of

Santa Clara, Cal. v. Andrus, 572 F.2d 660, 666 (9th Cir. 1978) (even “the existence of some

law generally applicable to the subject matter in question will not necessarily” allow for

review; “[t]here is ‘law to apply’ only if a specific statute limits the agency’s discretion to act

in the manner which is challenged” (emphasis added)).

        Another circumstance in which section 701(a)(2) bars review is when “the agency’s

action requires a complicated balancing of a number of factors which are peculiarly within

[the agency’s] expertise, including the prioritization of agency resources, likelihood of success

in fulfilling the agency’s statutory mandate, and compatibility with the agency’s overall

policies.” Newman v. Apfel, 223 F.3d 937, 943 (9th Cir. 2000) (quoting Heckler, 470 U.S. at

831); see, e.g., Lincoln, 508 U.S. at 193.

        The Supreme Court has applied this express exclusion from APA review in multiple

contexts. In Lincoln v. Vigil, the Court addressed an agency’s allocation of funds from a

lump-sum appropriation. 508 U.S. at 192. The Court also has interpreted section 701(a)(2)

to preclude judicial review of the CIA’s termination of an employee, see Webster v. Doe, 486

U.S. 592, 599-601 (1988), and an agency’s refusal to grant reconsideration of an action

because of material error, see ICC v. Bhd. of Locomotive Eng’rs, 482 U.S. 270 (1987).

        In accord with Supreme Court caselaw, on numerous occasions the Ninth Circuit

also has held that agency decisions were “committed to agency discretion by law” and,

accordingly, unreviewable. See, e.g., Argabright v. United States, 35 F.3d 472, 476 (9th Cir. 1994)

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 22



         Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 32 of 46
(IRS’s decision not to abate interest unreviewable); Adams v. FAA, 1 F.3d 955, 956 (9th Cir.

1993) (FAA’s denial of renewal of pilot examiner designation not reviewable); E.J. Friedman

Co., 6 F.3d at 1359 (IRS’s refusal to release a tax lien unreviewable); Ruff v. Hodel, 770 F.2d

839, 842 (9th Cir. 1985) (determination of membership unreviewable where statute said such

proof must be “satisfactory to the Secretary”); Rank v. Nimmo, 677 F.2d 692, 699-700 (9th

Cir. 1982) (VA’s decision whether to accept assignment of loans in default was not

reviewable).11 This Court has followed suit. See Alaska v. Kerry, 972 F.Supp.2d 1111, 1134

(D. Alaska 2013).

       This restriction on judicial review applies presumptively to agency decisions not to

take “enforcement actions” against regulated parties. See Heckler, 470 U.S. at 837-38; see also

City & Cty. of San Francisco v. U.S. Dep’t of Transp., 796 F.3d 993, 1001 (9th Cir. 2015)

(“Heckler carved out a presumption of unreviewability of an agency’s decision not to take

enforcement action.”). This presumption is not exclusive to litigation brought under the

APA; it applies broadly to agency refusals to investigate or enforce. Sierra Club, 268 F.3d at

902. Absent clear indication by Congress otherwise, such decisions are not subject to

judicial review because of their particular, discretionary nature. In making such decisions, an

agency is not limited to considering whether a “violation” has occurred. Heckler, 470 U.S. at

831. Even assuming that the violation has occurred, the agency must assess “whether


11
  In Argabright, the Ninth Circuit joined other Courts of Appeal that uniformly held that the
decisions not to abate were unreviewable. 35 F.3d at 475-76. The Supreme Court then
emphasized its approval of those cases, and discussed that Congress later made such
decisions reviewable by specifying in the statute that the decisions were reviewable under an
abuse of discretion standard. Hinck v. United States, 550 U.S. 501, 503-04, 506-08 (2007).
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 23



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 33 of 46
agency resources are best spent on this violation or another, whether the agency is likely to

succeed if it acts, whether the particular enforcement action requested best fits the agency’s

overall policies, and, indeed, whether the agency has enough resources to undertake the

action at all.” Id. Accordingly, such decisions customarily involve the complicated balancing

of a number of factors that are “peculiarly within [the agency’s] expertise.” Id. “The agency

is far better equipped than the courts to deal with the many variables involved in the proper

ordering of its priorities.” Id. at 831-32. In these ways and others, agency enforcement

discretion “shares to some extent the characteristics of the decision of a prosecutor in the

Executive Branch not to indict—a decision which has long been regarded as the special

province of the Executive Branch.” Id. at 831-32. See, e.g., Sierra Club, 268 F.3d at 902-03.

       The courts’ evaluation of whether review is precluded by section 701(a)(2) “requires

careful examination of the statute on which the claim of agency illegality is based.” Webster,

486 U.S. at 600 (discussing Overton Park and Heckler). Such examination addresses, first and

foremost, the statutory language under which the agency decision was made. See, e.g., id.; City

& Cty. of San Francisco, 796 F.3d at 1002-03; Argabright, 35 F.3d at 474-76.

       As discussed below, applying these principles here shows that EPA’s withdrawal

decision is unreviewable. EPA’s decision was akin to a decision not to pursue enforcement

under CWA section 404(c) at that time, which is presumptively unreviewable under section

701(a)(2). In addition, the language of section 404(c), EPA’s implementing regulations, the

structure of the CWA, including the balance that Congress created between EPA and the

Corps, and the unique circumstances of this case demonstrate that EPA’s decision is



CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 24



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 34 of 46
committed to agency discretion by law. There is no “law to apply” in reviewing the decision,

and the decision required the complicated balancing of factors within EPA’s expertise.

II.    EPA’s Decision is Presumptively Unreviewable

       EPA’s decision to withdraw the Proposed Determination is a decision “not to

enforce” that is presumptively unreviewable under 5 U.S.C. § 701(a)(2). In both the

Supreme Court and the Ninth Circuit, the presumption of unreviewability of agency actions

not to enforce applies to a range of agency decisions. For example, Heckler involved the

programmatic determination whether to enforce the Federal Food, Drug, and Cosmetic Act,

21 U.S.C. § 301 et seq., with respect to drugs used to administer the death penalty. See 470

U.S. at 824-25. In addition, in City and County of San Francisco, the Ninth Circuit held that the

Pipeline and Hazardous Materials Safety Administration’s acceptance of a state’s annual

certification of its intrastate pipeline safety program was unreviewable under 5 U.S.C. §

701(a)(2). 796 F.3d at 1001-03. The court described the challenged agency action—the

approval of the state’s annual certification—as a “decision not to enforce.” Id. at 1002.

Similarly, the court determined that the agency’s “decision not to pursue rejection of the

[state’s] certification” was a “close analog to a decision not to enforce.” Id. at 1004. On that

basis, the court concluded that, “[a]s we have explained, decisions not to enforce are

presumptively unreviewable under 5 U.S.C. § 701(a)(2).” Id.

       Here, CWA section 404(c) bestows authority on EPA to (1) prohibit or withdraw the

specification by the Corps of any defined area as a disposal site, and (2) deny or restrict the

use of any defined area as a disposal site. 33 U.S.C. § 1344(c). Imposing such prohibitions,

withdrawals, denials or restrictions constrains a regulated party’s ability to discharge dredged

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 25



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 35 of 46
or fill material into the specified areas. This authority to prohibit or limit the party’s

discharges is akin to a regulatory enforcement mechanism. Accordingly, EPA’s decision to

withdraw its Proposed Determination and, thus, not pursue further its section 404(c)

process, was a decision not to enforce that is presumptively unreviewable. See Heckler, 470

U.S. at 824-25; City and Cty. of San Francisco, 796 F.3d at 1001-03. See also Cascade Conservation

League v. M.A. Segale, Inc., 921 F. Supp. 692, 699 (W.D. Wash. 1996) (EPA’s decision not to

review or reverse the Corps’ determination that a section 404 permit was not required

because the activity was within an exception under CWA section 404(f) was a decision to not

take an “enforcement action” and was unreviewable).

       The presumption of unreviewability that attaches to EPA’s decision can be

“overcome by indications that Congress intended otherwise” Sierra Club, 268 F.3d at 903-04;

see also Heckler, 470 U.S. at 832-34. In this case, however, unreviewability is supported by a

number of factors, as discussed in more detail below. This is the very sort of decision that

courts should not address, and instead should leave to the agency.

III.   There is No “Law to Apply” in Reviewing the Discretionary
       Decision to Withdraw the Proposed Determination

       Under section 404(c), EPA “is authorized to prohibit the specification . . . of any

defined area as a disposal site, and . . . to deny or restrict the use of any defined area for

specification . . . as a disposal site whenever” EPA determines that the discharge of dredged or

fill material into any defined area “will have an unacceptable adverse effect” on, among other

things, “fishery areas (including spawning and breeding areas), wildlife, or recreational areas.”

33 U.S.C. § 1344(c) (emphasis added.) The statutory language also states that EPA must

provide notice and opportunity for public hearing before making a determination that the
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 26



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 36 of 46
discharge will have an “unacceptable adverse effect,” that EPA “shall” consult with the

Corps before making such a determination, and that EPA “shall set forth in writing and

make public” the findings and reasons for making such a determination. Id.

       The substantive portions of section 404(c) are drafted in terms of discretion. The

language stating that EPA “is authorized to” take the actions set forth in section 404(c) is the

same phrasing that the Supreme Court addressed in the general enforcement provision in

Heckler, where the Court concluded the statute’s “enforcement provisions thus commit

complete discretion to the [agency] to decide how and when they should be exercised.” Heckler,

470 U.S. at 835 (emphasis added).12 The Court’s conclusion is unsurprising given the

definitions. “Authorized” means “endowed with authority.” See https://www.merriam-

webster.com/dictionary/authorized (last visited Dec. 10, 2019). “Authority,” in turn, means

“freedom granted by one in authority: right.” See https://www.merriam-

webster.com/dictionary/authority (last visited Dec. 10, 2019). Accordingly, in section

404(c), Congress gave EPA the ability and freedom to impose section 404(c) constraints by

prohibiting, denying, or restricting the specification of disposal sites for dredged or fill

material “whenever” it “determines” that the discharge would have certain “unacceptable”

adverse effects. 33 U.S.C. § 1344(c). This is “classic language of discretion.” City and Cty. of

San Francisco, 796 F.3d at 1002. See, e.g., Mingo Logan Coal Co., 714 F.3d at 612-14 (discussing


12
    In Heckler, the Court also discussed statutory text that would allow for review of a
decision not to enforce because there was law to apply. 470 U.S. at 833-34 (discussing text
providing that, upon the filing of a complaint by a union member, the secretary of Labor
“shall investigate such complaint and, if he finds probable cause to believe that a violation . .
. has occurred . . . he shall . . . bring a civil action . . . .”).
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 27



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 37 of 46
discretionary nature of section 404(c)); City of Olmstead Falls v. EPA, 266 F. Supp. 2d 718, 723

(N.D. Ohio 2003) (EPA’s authority under section 404(c) is of an “obvious discretionary

nature”).13

       In addition, section 404(c) says nothing about an EPA decision to withdraw a

proposed determination, which occurs at an early stage in the review process. 33 U.S.C. §

1344(c). Section 404(c) provides no requirements or substantive standards against which to

review EPA’s withdrawal decision here.14



13
   Other cases that address EPA’s decisions under section 404(c) also emphasize the
discretionary nature of EPA’s actions, and are nearly uniform in upholding the United States’
longstanding position that EPA’s discretionary decisions under section 404(c) are not
reviewable. See, e.g., Menominee Indian Tribe of Wisconsin v. EPA, 360 F. Supp. 3d 847, 854-55,
859 (E.D. Wis. 2018) (EPA’s decision to withdraw objections to a section 404 permit was
committed to the agency’s discretion and thus unreviewable); Preserve Endangered Areas of
Cobb’s History, Inc. v. U.S. Army Corps of Eng’rs, 915 F. Supp. 378, 381 (N.D. Ga. 1995), aff’d 87
F.3d 1242 (11th Cir. 1996) (EPA’s section 404(c) authority is unreviewable because it is
“committed to agency discretion by law”); Cascade Conservation League, 921 F. Supp. at 698-99
(section 404(c) did not impose a nondiscretionary duty on EPA under CWA section
505(a)(2), and EPA decision not to take “enforcement action” under section 404(c) was
unreviewable under APA); Newport Galleria Group v. Deland, 618 F. Supp. 1179, 1181-82
(D.D.C. 1985) (Congress gave EPA “wide discretion” in section 404(c)); but see Alliance to
Save the Mattaponi v. U.S. Army Corps of Eng’rs, 515 F.Supp.2d 1, 4-5 (D.D.C. 2007) (in post-
permit context based on full record from the permit proceedings, and where the court was
bound by the D.C. Circuit’s “repeated[]” and “narrow[]” readings of Heckler, deciding
(incorrectly) that EPA’s decision not to “veto” the permit was reviewable).
14
    This is one of the distinctions between this case and the situation in Weyerhauser, 139 S.
Ct. 361. In addition, the statutory text in Weyerhauser used the mandatory “shall” to impose a
“categorical requirement” that the agency address certain impacts in designating “critical
habitat,” and so those impacts needed to be weighed in assessing whether to exclude an area
from such habitat. Id. at 370-71. That requirement provided the courts with “law to apply”
in reviewing the agency’s decision. Id. at 371-72. Furthermore, Weyerhauser did not address a
discretionary decision not to enforce, and so was not analyzed that way under Heckler. Id. at
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 28



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 38 of 46
       To the extent that section 404(c) imposes standards or requirements, those are mainly

procedural and only apply in the context of determinations that the discharges “will have an

unacceptable adverse effect” on the specified resources. 33 U.S.C. § 1344(c). Before making

such a determination, EPA “shall” consult with the Corps. Id. And if EPA makes such a

determination, then EPA “shall” set forth in writing and make public the findings and

reasons for making the determination. Id. Cf. Cascade Conservation League, 921 F. Supp. at 698

(“[Section 404(c)] requires the Administrator [of EPA] to consult with the Corps and to set

forth his findings in writing when he chooses to prohibit a specification (or withdrawal

thereof) or to deny or restrict the use of a designated area. If the Administrator does not

choose to take these actions, the mandatory language “shall consult” and “shall set forth”

does not come into play at all.”) (Emphasis in original.) In addition, if EPA makes a final

section 404(c) determination to prohibit, deny, or restrict the specification of disposal sites,

then the statutory standard for EPA’s determination—i.e., that the discharge will have an

“unacceptable adverse effect” on the resources listed in section 404(c)—provides the basis

for any judicial review in a challenge to the determination. See Mingo Logan Coal Co. v. EPA,

829 F.3d 710, 718, 724-26 (D.C. Cir. 2016).

       The contrast between discretionary and mandatory language in section 404(c) further

supports the conclusion that EPA’s withdrawal decision is committed to agency discretion

by law. In assessing whether there is “law to apply” in reviewing an agency decision, the

courts have relied heavily on such contrasts. See, e.g., Southern Ry. Co. v. Seaboard Allied Milling


370-72. Weyerhauser also did not address the agency’s complicated balancing of factors within
the agency’s expertise. Id.
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 29



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 39 of 46
Corp., 442 U.S. 444, 455-60 (1979); City and County of San Francisco, 796 F.3d at 1002-03;

Argabright, 35 F.3d at 475-76; Alaska v. Kerry, 972 F. Supp. 2d at 1134.

       For these reasons, the CWA supplies “no law to apply” to EPA’s decision to

withdraw a proposed determination. In addition, looking to EPA’s regulations also would

not provide judicially manageable standards in reviewing EPA Region 10’s withdrawal

decision. While EPA’s regulations establish interim procedures—including for the issuance

and withdrawal of proposed determinations—that could lead to a final determination to

prohibit, deny or restrict the specification of disposal sites, they do not alter the overall

discretionary process that Congress created in section 404(c) or provide “law to apply.”

       The portion of EPA’s regulations entitled “Recommended determination” addresses

the withdrawal of proposed determinations. 40 C.F.R. § 231.5. Within 15 days after the

conclusion of the public comment period, or within 30 days after the public hearing if one is

held, the RA must “either withdraw the proposed determination or prepare a recommended

determination to prohibit or withdraw specification, or to deny, restrict, or withdraw the use

or specification, of the disposal site because the discharge of dredged or fill material at such

site would be likely to have an adverse effect.” 40 C.F.R. § 231.5(a). While this provision

provides an interim guidepost for the RA’s decision to move forward with a recommended

determination (i.e., continue to pursue a final determination), it does not say anything to limit

the RA’s discretion to withdraw a proposed determination. See 84 Fed. Reg. at 45,751 (“the

regulations do not provide a regulatory standard for the [RA’s] decision to withdraw a

proposed determination”). This view is consistent with EPA’s summary and explanation of

its regulations when the Agency promulgated them in 1979. See 44 Fed. Reg. at 58,082 (the

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 30



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 40 of 46
RA decides whether to withdraw a proposed determination after he “reviews the

information available to him.”). And the preamble contemplated that a proposed

determination was to be an early, preliminary stage of the process. Id. (a proposed

determination “merely means that the Regional Administrator believes that the issue should

be explored.”); see also 40 C.F.R. § 231.3.15

       Accordingly, there are no “judicially manageable standards . . . for judging how and

when [the] agency should” decide whether to withdraw a proposed determination and, thus,

section 701(a)(2) precludes review of Plaintiffs’ challenges to EPA’s decision here.

IV.    The RA’s Withdrawal Decision Required a Complicated
       Balancing of Factors Peculiarly Within EPA’s Expertise

       In City and Cty. of San Francisco, the Ninth Circuit summarized the reasons why

“agency enforcement decisions” typically are unsuited for judicial review:

               (1) “an agency decision not to enforce often involves a complicated
               balancing of a number of factors which are peculiarly within its
               expertise,” such as allocation of resources and agency priorities; (2) an
               agency is better equipped to make that balancing than a court; (3) an
               agency’s refusal to enforce does not implicate personal liberty or

15
   The text of 40 C.F.R. § 231.5(a) unambiguously provides no substantive regulatory
standard for the RA’s decision to withdraw a proposed determination. However, if this
Court were to determine that the text is genuinely ambiguous on this issue, then EPA’s
interpretation of its regulations would be entitled to “Kisor” deference, under which EPA’s
interpretation is controlling unless plainly erroneous or inconsistent with the regulation.
Kisor v. Wilkie, 139 S. Ct. 2400, 2414-19 (2019); see Auer v. Robbins, 519 U.S. 452, 461 (1997);
Bowles v. Seminole Rock & Sand Co., 325 U.S. 410 (1945); see also Leslie Salt Co. v. United States,
896 F.2d 354, 357 (9th Cir. 1990) (the agency’s interpretation of its own regulation is entitled
to deference “amounting to a plain error standard.”). EPA’s interpretation is reasonable; it is
EPA’s “authoritative” and “official position”; it implicates EPA’s expertise, knowledge, and
experience, and falls within EPA’s authority under section 404(c); and it reflects EPA’s “fair
and considered judgment.” See Kisor, 139 S. Ct. at 2414-19.
CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 31



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 41 of 46
               property rights, which courts are often called on to protect; and (4) an
               agency’s decision not to enforce is analogous to prosecutorial
               discretion, an arena in which courts have traditionally not interfered.

796 F.3d at 1001-02 (citing and quoting Heckler, 470 U.S. at 831-32). All of those factors are

implicated here. As discussed above, EPA’s decision not to pursue its CWA section 404(c)

authority was akin to a decision not to pursue enforcement. Accordingly, that decision does

not impinge on the regulated entity’s liberty or property rights; it also is akin to an exercise

of prosecutorial discretion. In addition, as discussed further below, the decision is

unreviewable because it required a complicated balancing of factors that are peculiarly within

EPA’s expertise, and the agency is better equipped to conduct that balancing than the courts.

See, e.g., Lincoln, 508 U.S. at 192-93 (agency allocating funds from a lump-sum appropriation

was “far better equipped than the courts to deal with the many variables involved in the

proper ordering of its priorities”) (quoting Heckler, 470 U.S. at 831-32).

       Generally, any Regional Administrator’s decision to withdraw a proposed

determination will involve the complex decisionmaking that goes into discretionary agency

enforcement decisions. See, e.g., Heckler, 470 U.S. at 831; City and Cty. of San Francisco, 796

F.3d at 1002; Sierra Club, 268 F.3d at 902-03; see also Cascade Conservation League, 921 F. Supp.

at 699 (in section 404(c) context, “an agency’s decision not to take enforcement action

involves a careful balancing of the need for enforcement against the chances of success and

the resources it would require”); 44 Fed. Reg. 58,079 (discussing EPA’s “necessary discretion

in deciding when to act or whether to act at all”). EPA has many projects, facilities and tasks

to which to allocate its limited resources, and it must be able to choose how best to set its

priorities and allocate such resources among them at a particular time. This applies with

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 32



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 42 of 46
even more force where there is a separate permitting process with a new record of

information that EPA determined will provide a comprehensive forum to address the

potential environmental effects of the project at issue.

       Indeed, the facts of this particular project involved the especially complicated

balancing of numerous factors related to EPA’s withdrawal decision. For example, because

EPA initiated the section 404(c) process and issued the Proposed Determination before PLP

submitted its permit application, the Corps’ engagement in those processes was limited. 84

Fed. Reg. at 45,755. Also because of the pre-permit context, Region 10 issued the Proposed

Determination using hypothetical mining scenarios that were based on sources available at

that time. See, e.g., id. at 45,753. And, largely because EPA’s section 404(c) process had been

enjoined, the Proposed Determination was five years old when EPA withdrew it. Id. at

45,749.

       Furthermore, the Proposed Determination did not address the voluminous, project-

specific information that was (and is) being developed in connection with the multi-year

permitting process. See, e.g., id. at 45,752-53. EPA now has available opportunities to

participate in the development of the record and to address its environmental concerns with

the Corps, using the more customary processes described in EPA’s regulations. See, e.g., id.

at 45,752. EPA already has done so, as demonstrated by its submission of more than 100

pages of detailed comments on the draft EIS and more than 50 pages of comments on the

Corps’ notice of the permit application, and EPA will continue to work constructively with

the Corps as a cooperating agency. Id. at 45,754.



CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 33



          Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 43 of 46
       EPA also retains its other authorities under section 404. For example, EPA retains

its authority to elevate the permitting decision, as described in the 404(q) Memorandum, and

EPA currently is exercising authority under that memorandum. In addition, EPA retains its

authority to initiate a new section 404(c) review and make a final 404(c) determination that

prohibits, restricts, denies or withdraws the specification of disposal sites in connection with

the project (and such limits may be in addition to any limits that the Corps may impose in

the section 404 permit). See 84 Fed. Reg. at 45,754-56; see also Mingo Logan Coal Co., 714 F.3d

at 613 (EPA retained discretion to initiate section 404(c) proceedings after Corps issued

notice of intent to issue section 404 permit); Newport Galleria Group, 618 F. Supp. at 1181-84

(same). In a new 404(c) context, EPA would have the opportunity to issue a new proposed

determination based on the full record and to ensure meaningful public engagement on it.

84 Fed. Reg. at 45,754.

       As EPA explained in the withdrawal notice, these were among the factors that EPA

balanced when EPA determined in this particular matter that it was better to prioritize its

work on the current, permit-related processes rather than on the process involving a 2014

Proposed Determination. Overall, the situation presented in this case calls out for allowing

EPA to retain what the Ninth Circuit has described succinctly as “regulatory flexibility.” City

and Cty. of San Francisco, 796 F.3d at 1002.

       Finally, it is important to recognize that EPA undertook this balancing and

decisionmaking within the context of the intricate relationship between EPA and the Corps,

as established by the compromise that Congress reached in CWA section 404. Congress

directed the agencies to manage this relationship, and it is the very sort of relationship that

CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 34



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 44 of 46
“courts are not institutionally well-equipped to micromanage . . . .” City and Cty. of San

Francisco, 796 F.3d at 1002 (discussing the “delicate federal-state relationship” at issue under

the Pipeline Safety Act).

                                       CONCLUSION

       For the reasons stated above, Defendants’ Motion to Dismiss Pursuant to Fed. R.

Civ. P. 12(b) should be granted.

                                     Respectfully submitted this 10th day of December, 2019.

                                     _/s/_Mark A. Nitczynski __
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CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 35



        Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 45 of 46
                             CERTIFICATE OF SERVICE

       I hereby certify that on December 10, 2019, I caused to be filed the foregoing
DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)
using the Court’s CM/ECF system, which serves copies on counsel of record.



                                                 /s/ Mark A. Nitczynski




CASE NO. 3:19-CV-00265-SLG (CONSOLIDATED) - 36



       Case 3:19-cv-00265-SLG Document 36 Filed 12/10/19 Page 46 of 46
